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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

SEAN WHITE                                     §
                                               §      CIVIL ACTION NO.
Plaintiff                                      §
                                               §
VS.                                            §
                                               §
ORIGIN BANK                                    §
                                               §
Defendant                                      §

                                       COMPLAINT

TO THE U.S. DISTRICT JUDGE:

       COMES NOW, Plaintiff SEAN WHITE and brings this cause of action against

ORIGIN BANK, (“ORIGIN”). ORIGIN BANK, owns, controls, manages, and rents the

real estate, property, and improvements in Houston, Texas where a business named

ORIGIN BANK operates. Mr. WHITE respectfully shows that the Defendant’s real

estate, property, and improvements at the location are not accessible to individuals with

mobility impairments and disabilities, in violation of federal law.

                                         I. CLAIM

       1.      Mr. WHITE, a person with a physical disability and mobility impairments,

brings this action for declaratory and injunctive relief, attorneys’ fees, costs, and

litigation expenses against Defendant for violations of Title III of the Americans with

Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

        2.     Defendant refused to provide Mr. WHITE and others similarly situated

with sufficient ADA-compliant parking in the parking lot that serves ORIGIN BANK. At

the Houston location, there is no ADA-Compliant Van Accessible space. There are no


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Disabled Parking signs. There is no Disabled parking. There is no Disabled Parking on

the shortest route to the storefronts.

        Based on these facts, DEFENDANT has denied Mr. WHITE the ability to enjoy

the goods, services, facilities, privileges, advantages, and accommodations at ORIGIN

BANK.



                              JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

Act of 1990, 42 U.S.C. §12101, et seq.

        4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

events complained of occurred in Houston, Texas where the ORIGIN BANK business is

located.



                                         PARTIES

        5.      Plaintiff SEAN WHITE is an Honorably-discharged, U.S. Army veteran

that completed multiple tours in Afghanistan. As a result of his service, Mr. White has

mobility impairments and traumatic brain injury (TBI). Mr. WHITE has a disability and

mobility impairments, as established by the Federal government and the Veteran’s

Administration. Mr. White has a disabled placard on his vehicle from the State of Texas.

Mr. WHITE has significant mobility impairments and uses assistive devices for mobility.

He is a “qualified individual with a disability” within the meaning of ADA Title III.

        6.      Defendant ORIGIN BANK, owns, manages, controls, and leases the

improvements and building where the ORIGIN BANK is situated. The address of


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ORIGIN BANK is 5324 Kirby Dr, Houston, TX 77005. The business is a place of public

accommodation, operated by a private entity, whose operations affect commerce within

the meaning of Title III of the ADA.

       7.      Defendant ORIGIN BANK, is the owner of the property. Defendant is a

domestic bank headquartered at 3921 Elm St, Choudrant, LA 71227. Defendant can be

served process via service to its Registered Agent: Tina Ogle at 3838 Oak Lawn Ave,

Suite P100, Dallas, TX 75219.

                                        II. FACTS

       8.      ORIGIN BANK is a business establishment and place of public

accommodation in Houston, Texas. ORIGIN BANK is situated on real estate, property,

and improvements owned, controlled, managed, and leased out by ORIGIN BANK

       9.      ORIGIN BANK is not accessible to disabled individuals because it has

zero ADA-Compliant Van Accessible parking spaces. At the Houston location, there is

no ADA-Compliant Van Accessible space. There are no Disabled Parking signs. There is

no Disabled Parking on the shortest route to the storefronts.

       10.     Pictures taken at the location prove this:




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ORIGIN BANK business in Houston TX. There is no ADA-Compliant Van Accessible
 space (96” wide with 96” side access aisle). No Disabled Parking signs. No Disabled
 Parking on the shortest route to the storefronts.




ORIGIN BANK business in Houston TX. There is no ADA-Compliant Van Accessible
 space (96” wide with 96” side access aisle). No Disabled Parking signs. No Disabled
 Parking on the shortest route to the storefronts.




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ORIGIN BANK business in Houston TX. There is no ADA-Compliant Van Accessible
 space (96” wide with 96” side access aisle). No Disabled Parking signs. No Disabled
 parking on the shortest route to the storefront.


       11.     The Plaintiff went to ORIGIN BANK property in March of 2021.

       12.     In encountering and dealing with the lack of an accessible facility, the

Plaintiff experienced difficulty and discomfort. These violations denied the Plaintiff full

and equal access to facilities, privileges and accommodations offered by the Defendant.

Plaintiff has the intent to return to ORIGIN BANK.

       13.     Additionally, on information and belief, the Plaintiff alleges that the

failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

and obvious; (2) the Defendant exercised control and dominion over the conditions at this

location and, therefore, the lack of accessible facilities was not an “accident” because



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Defendant intended this configuration; (3) Defendant has the means and ability to make

the change; and (4) the changes to bring the property into compliance are “readily

achievable.”

        14.     The Defendant’s Houston location does not have the required number of

ADA parking spaces. With 1-25 parking spaces, Defendant must have one ADA-

compliant Van Accessible space (96” Wide with 96” Side Access Aisle) with a sign. This

space must be located close to the entrance of the business. See pictures above, and

Exhibit 1.

        15.     At the Houston location, there is no ADA-Compliant Van Accessible

space. There are no Disabled Parking signs. There is no Disabled parking on the shortest

route to the storefronts.

        16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

federal law for 30 years.



          III. CAUSE OF ACTION - VIOLATION OF THE AMERICANS
               WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101


        17.     Plaintiff repleads and incorporates by reference, as if fully set forth again

herein, the allegations contained in all prior paragraphs of this complaint.

        18.     Under the ADA, it is an act of discrimination to fail to ensure that the

privileges, advantages, accommodations, facilities, goods and services of any place of

public accommodation is offered on a full and equal basis by anyone who owns, leases,

or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

is defined, inter alia, as follows:

                a.      A failure to make reasonable modifications in policies practices, or


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       procedures, when such modifications are necessary to afford goods, services,

       facilities, privileges, advantages, or accommodations to individuals with

       disabilities, unless the accommodation would work a fundamental alteration of

       those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

               b.     A failure to remove architectural barriers where such removal is

       readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

       reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

               c.     A failure to make alterations in such a manner that, to the

       maximum extent feasible, the altered portions of the facility are readily accessible

       to and usable by individuals with disabilities, including individuals who use

       wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

       the altered area and the bathrooms, telephones, and drinking fountains serving the

       altered area, are readily accessible to and usable by individuals with disabilities.

       42 U.S.C. § 12183(a)(2).

       19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

Standards”), section 208.2, if a business provides between 1 and 25 parking spaces,

Defendant must have at least one ADA-compliant Van Accessible space (96” Wide with

96” Side Access Aisle) near the business entrance. See Exhibit 1.

       20.     Here, the Defendant did not provide a sufficient number of ADA-

compliant parking spaces in its parking lot, although doing so is easily and readily done,

and therefore violated the ADA.



                                  IV. RELIEF REQUESTED


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Injunctive Relief

          21.   Mr. WHITE will continue to experience unlawful discrimination as a

result of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so he

and all individuals with disabilities can access the Defendant’s property equally, as

required by law, and to compel Defendant to repave and restripe the parking lot to

comply with the ADA. Injunctive relief is also necessary to compel Defendant to keep

the property in compliance with federal law.



Declaratory Relief

          22.   Mr. WHITE is entitled to declaratory judgment concerning Defendant’s

violations of law, specifying the rights of individuals with disabilities to access the goods

and services at the Defendant’s location.

          23.   The facts are undisputed and Defendant’s non-compliance with the ADA

has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

violations by the Defendant.



Attorneys’ Fees and Costs

          24.   Plaintiff is entitled to reasonable attorneys’ fees, litigation costs, and court

costs, pursuant to 42 U.S.C. §12205.



                                V. PRAYER FOR RELIEF

          THEREFORE, Mr. WHITE respectfully requests this Court award the following

relief:

          A.    A permanent injunction, compelling Defendant to comply with the


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Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

from discriminating against Mr. WHITE and those similarly-situated, in violation of the

law;

        B.     A declaratory judgment that Defendant’s actions are a violation of the

ADA;

        C.     Find that Mr. WHITE is the prevailing party in this action, and order

Defendant liable for Plaintiff’s attorneys’ fees, costs, and litigation expenses; and,

        D.     Grant such other and additional relief to which Plaintiff may be entitled in

this action.



    DATED: MARCH 25, 2021                      Respectfully,

                                       By:     /s/ R. Bruce Tharpe
                                               R. Bruce Tharpe

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                                               ATTORNEY OF RECORD FOR
                                               PLAINTIFF SEAN WHITE




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